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                               UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION



ALEX E. MCDONALD,

                  Plaintiff,
                                                             Case No. 3:17-cv-01157-YY
       v.
                                                             FINDINGS AND
UNION PACIFIC RAILROAD COMPANY,                              RECOMMENDATIONS
a foreign business corporation,

                  Defendant.


YOU, Magistrate Judge:

       Before the court are two motions: defendant Union Pacific Railroad Company’s (“Union

Pacific”) motion to dismiss for failure to state a claim (ECF #14) under FRCP 12(b)(6), and

plaintiff Alex McDonald’s (“McDonald”) motion to amend the complaint (ECF #25) pursuant to

FRCP 15(a). Defendant initially filed a motion to dismiss. However, because it appeared that

McDonald had failed to state a claim, the court gave McDonald leave to file a motion to amend

the complaint. Both motions are now ripe for the court’s consideration. For the reasons set forth

below, the motion to dismiss (ECF #14) should be GRANTED, the motion to amend (ECF #25)

should be DENIED, and the case should be dismissed with prejudice.

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                                         BACKGROUND

       McDonald owns real property in Multnomah County adjacent to Fairview Creek.1

Compl. ¶ 7, ECF #1. Union Pacific owns a right of way across Fairview Creek adjacent to

McDonald’s property. Id. ¶ 8. In February 2017, McDonald observed a beaver dam

approximately 50 feet long and 8-to-10 feet high situated directly underneath Union Pacific’s

railroad trestle. Alex McDonald Decl. ¶ 3, ECF #18; Tom McDonald Decl. ¶ 2, ECF #19.

McDonald took pictures of the beaver dam and sent them to Union Pacific representatives. Alex

Decl. ¶ 3; Tom Decl. ¶ 2. The beaver dam was removed sometime between March and June

2017, presumably by Union Pacific. Alex Decl. ¶¶ 3, 5; Tom Decl. ¶ 3. Before the dam was

removed, it created flood waters and river channels, which caused severe damage to McDonald’s

property to the tune of $2,500,000. Compl. ¶ 13.

                                      LEGAL STANDARD

       Pursuant to FRCP 12(b)(6), a defendant may move to dismiss a claim for “failure to state

a claim upon which relief can be granted.” “A dismissal under rule 12(b)(6) ‘may be based on

either a lack of a cognizable legal theory or the absence of sufficient facts alleged under a

cognizable legal theory.’” Kwan v. SanMedica Int’l, 854 F.3d 1088, 1093 (9th Cir. 2017)

(quoting Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008)).

       Additionally, FRCP 8(a)(2) requires that a pleading must contain “a short and plain

statement of the claim showing that the pleader is entitled to relief[.]” FRCP 8(a)(2). This

standard “does not require ‘detailed factual allegations,’” but does demand “more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “A pleading that

1
 The pleadings refer to the creek interchangeably as Fairway Creek and Fairview Creek, but it
appears Fairview Creek is the correct name. See Alex Decl. ¶ 2.


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offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will

not do.’” Id. (quoting Twombly, 550 U.S. at 555). “[A] complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting

Twombly, 550 US at 570).

         In evaluating a motion to dismiss under FRCP 12(b)(6), the court must accept as true all

allegations of material fact and construe them in the light most favorable to the non-moving

party. Parks Sch. of Bus., Inc. v. Symington, 51 F3d 1480, 1484 (9th Cir. 1995). In addition to

the allegations in the complaint, the court may also consider documents whose authenticity no

party questions that are attached to, or incorporated by reference into, the complaint, as well as

matters capable of judicial notice. Knievel v. ESPN, 393 F3d 1068, 1076 (9th Cir. 2005). The

court need not accept as true allegations in the complaint that contradict these sources. Lazy Y

Ranch, Ltd., v. Behrens, 546 F3d 580, 588 (9th Cir. 2008).

                                             FINDINGS

I.       Motion to Dismiss

         In his original complaint, McDonald alleged claims of common-law negligence and

breach of a regulatory duty. Compl., ECF #1. In his proposed amended complaint, McDonald

asserts a modified claim of common-law negligence, adds a claim of private nuisance, and

abandons his claim of breach of a regulatory duty. Mot. to Am. Compl., Ex. 1, ECF #25. For

the reasons discussed below, all of McDonald’s claims should be dismissed for failure to state a

claim.

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       A.      Common-Law Negligence

               1.      Relevant Law

       Under Oregon law, “traditionally, the elements of common-law negligence required a

plaintiff to plead and prove that the ‘defendant owed the plaintiff a duty, that the defendant

breached that duty, and that the breach was the cause-in-fact of some legally cognizable damage

to the plaintiff.’” Chapman v. Mayfield, 361 P.3d 566, 571 (Or. 2015) (citing Brennen v. City of

Eugene, 591 P.2d 719, 722 (Or. 1979)) (alteration omitted). However, under Oregon’s

“contemporary jurisprudence, the traditional duty-breach analysis is subsumed in the concept of

general foreseeability, ‘unless the parties invoke a status, a relationship, or a particular standard

of conduct that creates, defines, or limits the defendant’s duty.’” Id. (quoting Fazzolari v.

Portland School Dist. No. 1J, 734 P.2d 1326, 1336 (Or. 1987)) (footnote and additional citation

omitted).

       “Despite that shift, causation-in-fact and the occurrence of legally cognizable harm

(damage) remain as elements of any common-law negligence claim.” Id. (citing Oregon Steel

Mills, Inc. v. Coopers & Lybrand, LLP, 83 P.3d 322 (Or. 2004)). “Thus, when a claim for

common-law negligence is premised on general principles of foreseeability, the plaintiff must

plead and prove that the defendant's conduct created a foreseeable and unreasonable risk of

legally cognizable harm to the plaintiff and that the conduct in fact caused that kind of harm to

the plaintiff.” Id. (citations omitted) (emphasis added).

       B.      Original Theory

       In his original complaint, McDonald alleges that the beaver dam created a foreseeable

risk of harm in that it “would potentially cause damage to the railroad trestle and/or would cause

damage to adjoining properties through flooding, river channels and burrowing by the beavers in




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and around the dam.” Compl. ¶ 11. He further asserts that Union Pacific “had a duty to maintain

its property, including its right of way across Fairview Creek,” and that “this duty included

removing the beaver dam within its right of way before the dam caused damage to adjoining

properties.” Id. ¶ 12. McDonald asserts that, “[o]ver time, the dam did create flood waters, river

channels and numerous beaver burrows[,] which have caused severe damage to [McDonald’s]

property.” Id. ¶ 13. McDonald’s original theory of liability fails because he cannot establish

Union Pacific had a duty to mitigate the activities of beavers.

         Beavers are rodents. See Journal-Gazette Co. v. Bandido’s, Inc., 712 N.E.2d 446, 459

(Ind. 1999)(“Webster’s New World Dictionary (3d ed.1988) defines rodent as ‘any of a very

large order (Rodentia) of gnawing mammals including rats, mice, squirrels, beavers, etc.,

characterized by constantly growing incisors adapted for gnawing or nibbling[.]’”). Under

Oregon law, rodents are a form of predatory animal. ORS 610.0022; OAR 635-050-0050(8).3

Thus, “[a]ny person . . . possessing or having charge of or dominion over any land . . . which is

infested with . . . predatory animals . . . may proceed immediately and continue in good faith to

control them by poisoning, trapping or other appropriate and effective means.” ORS 610.105

(emphasis added). However, “in the statutory context, in ordinary usage, “‘shall’ create[s] a

mandatory duty, while ‘may’ creates only authority to act.” Friends of the Columbia Gorge, Inc.

v. Columbia River Gorge Comm’n, 212 P.3d 1243, 1249 (Or. 2009) (quoting Cain v. Rijken, 717

P.2d 140 (Or. 1986)). Accordingly, Union Pacific had no statutory obligation to remove the

beavers from its property.




2
    Under ORS 610.002, rodents are included in a list of “predatory animals.”
3
 OAR 635-050-0050 states that “‘predatory animals’ means coyotes, rabbits and rodents which
are or may be destructive to agricultural crops, products and activities.”


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        Moreover, beavers are ferae naturae, or wild animals. Fields v. Wilson, 207 P.2d 153

(Or. 1949). Wild animals are the property of the state. Simpson v. Dep’t of Fish and Wildlife,

255 P.3d 565, 572 (Or. App. 2011). Land owners are not liable for the acts of wild animals

occurring on their property unless the landowner reduces indigenous wild animals to their

possession or control or introduces nonindigenous wild animals into the area. See Union Pac.

R.R. Co. v. Nami, 498 S.W.3d 890, 897 (Tex. 2016), reh’g den (Sept. 23, 2016), cert. den sub

nom. Nami v. Union Pac. R.R. Co., 137 S. Ct. 2118 (2017); Comment a, RESTATEMENT (FIRST)

OF TORTS     § 508 (1938) (“The possession of the land does not carry with it possession of the

indigenous wild animals which are upon it. The possessor of the land does not acquire possession

of such animals until he has brought them within his control . . . .”). The complaint contains no

allegation that Union Pacific reduced the beavers to its possession or control or introduced them

to the area.

        Thus, Union Pacific had no duty towards McDonald for the harm caused by the beavers

or their activities on its right of way on Fairview Creek. Although Oregon law allowed Union

Pacific to lethally remove the beavers or otherwise control them, it had no affirmative duty to do

so. Moreover, because the beavers are wild animals, Union Pacific is not liable for their actions.

Because McDonald failed to plead a cognizable legal theory of common-law negligence in his

original complaint, the motion to dismiss should be granted with respect to that claim.

        C.       Amended Theory—Duty to Remove Obstruction

        In his motion to amend the complaint, McDonald argues that—regardless of how the

beaver dam or “obstruction” came about—once it was observed and could foreseeably cause

flooding to adjacent properties, Union Pacific had an affirmative duty to remove the obstruction

and mitigate flood damage to McDonald’s property. Mot. to Am. Compl. 4, ECF #25.




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Assuming arguendo that the court could simply set aside the ferae naturae doctrine, which it

cannot, McDonald’s second theory of negligence also fails as a matter of law because Union

Pacific is not liable for harm resulting from natural conditions.

       McDonald cites Schweiger v. Solbeck, 230 P.2d 195 (Or. 1951), for the “proposition that

the negligence of a property owner in relation to a natural obstruction could give rise to a cause

of action.” Reply ¶ 3, ECF #27. Indeed, Schweiger contains the following seemingly favorable

language:

       We have held that negligently to permit large quantities of water to be
       impounded, and, by the breaking of the impounding agency, to be suddenly
       released, is, from the point of view of legal responsibility, no different in principle
       from lawfully impounding water and then releasing them suddenly to another’s
       injury.

Id. at 202 (citations omitted).

       However, the Schweiger court’s use of the passive voice makes this sentence ambiguous.

It could imply, as McDonald argues, that the property owner need only permit the release of

water to be liable for negligence, and not that it take some affirmative act to cause the release.

Or, it could require some affirmative conduct by the property owner. However, both the facts of

Schweiger and the four cases it relies on for its holding show that the court’s use of passive voice

does not mean the actions of the property are unimportant: some affirmative conduct is required

to hold a property owner liable for a release of water.

       In Schweiger, the defendants logged a ravine upstream from the plaintiffs’ cabins and left

logging debris consisting of limbs, small trees, and brush along the sides and bottom of the

ravine. Id. at 197. Heavy rains carried a mass of debris onto the plaintiffs’ property and

destroyed their cabins, and the plaintiffs brought negligence claims. The defendants admitted

they conducted a logging operation, but alleged the plaintiffs’ losses were caused by excessive




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rains and a subsequent landslide over which they had no control. Id. at 197-98. The operative

fact was whether the defendants took some action that made them responsible for the damage:

“even assuming that there was a landslide, the negligence of the defendants in permitting an

accumulation of logging debris to remain on their land might well have been a cause. . . .” Id. at

200. Under “the facts and circumstances as a whole,” the court concluded that “a reasonable

inference of defendants’ negligence was proper.” Id. at 202.

       Schweiger cites four cases, which all support the conclusion that some action by the

defendant is necessary for there to be liability. In Allen v. K. P. Timber Co., 53 P.2d 29, 30 (Or.

1935), the defendant railroad company constructed a pile-trestle bridge, 250 foot long and 90 feet

high, upstream from plaintiff’s home. The defendant intended to supplant the trestle bridges by

filling in the canyon below with dirt and debris. The defendant filled in 60 feet over five years;

however, after two months of exceptionally heavy rainfall, water pooled behind the fill, the fill

broke, a large amount of water was released, and the plaintiff died in a resultant mudslide. The

court held that the defendant “knew, or by the exercise of reasonable diligence could have

known, that the culvert under the said fill became choked [several years before]; that the waters

arose very rapidly; [and] that it was necessary to build and maintain a screen around the intake of

the culvert to prevent it from choking,” but the defendant failed to maintain such a screen. Id. at

31.

       In Crawford v. Cobbs & Mitchell Co., 257 P. 16, 16 (Or. 1927), the defendant operated a

sawmill and maintained a large reservoir for floating logs. When the reservoir began

overflowing, the defendant raised the floodgates, causing the river below to overflow, thereby

damaging the plaintiff’s downstream property and killing his livestock. The court held that the

“jury had a right to infer from the evidence that the defendant released the impounded waters of




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its artificial lake for the purpose of lowering the waters of the reservoir, and that, in

accomplishing its purpose, it acted negligently, and to the injury of plaintiff.” Id. at 18.

         In both Kaylor v. Recla, 84 P.2d 495, 496 (Or. 1938), and Emison v. Owyhee Ditch Co.,

62 P. 13, 14 (Or. 1900), the defendants built and used irrigation ditches but failed to control

seepage, over flow, and waste water, which saturated the adjacent plaintiffs’ farm lands

destroying their alfalfa crops. The courts reasoned the defendants had a duty to maintain their

irrigation ditches in a manner that would not cause harm to adjacent properties.

         These cases demonstrate that under Oregon law, “the plaintiff must plead and prove that

the defendant’s conduct created a foreseeable and unreasonable risk of legally cognizable harm

to the plaintiff and that the conduct in fact caused that kind of harm to the plaintiff.” Chapman,

361 P.3d at 572 (emphasis added). In each of the cases discussed above, the defendants took

some action that created the risk of harm: logging and leaving debris in a ravine, failing to

maintain a screen, literally opening the floodgates, or constructing and operating irrigation

ditches. Suffice it to say, a “possessor of land . . . [is not] liable for physical harm caused to

others outside of the land by a natural condition of the land.” RESTATEMENT (SECOND) OF TORTS

§ 363.

         Here, McDonald alleges that “[o]ver the years, a large obstruction of mud, logs and other

debris accumulated directly under the trestle and within the right of way of Union Pacific.

Although Union Pacific was able to observe this obstruction, Union Pacific did nothing about the

obstruction.” Mot. to Am. Compl. 3-4, ECF #25. However, McDonald does not allege that

Union Pacific took any action to create the obstruction. Thus, McDonald’s second theory of

common-law negligence fails as a matter of law.

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II.    Second Claim: Private Nuisance

       McDonald also proposes to amend his complaint to add a claim that “Union Pacific

created a private nuisance . . . by permitting a large obstruction to be maintained in Fairview

Creek within its right of way, which eventually caused flooding on the plaintiff’s property.”4

Mot. to Am. Comp. 5, ECF #25. This claim also fails as a matter of law.

       “A private nuisance is an unreasonable non-trespassory interference with another’s

private use and enjoyment of land.” Mark v. State ex rel. Dep’t of Fish and Wildlife, 84 P.3d

155, 161 (Or. App. 2004) (citation omitted).

       Owners of land who do not themselves engage in activity constituting a nuisance
       may nevertheless be liable for the acts of third parties that create a nuisance on
       their land if they both know that the activity is being carried on and will involve
       an unreasonable risk of causing the nuisance and consent to the activity or fail to
       exercise reasonable care to prevent it.

Id. (internal citations and quotations omitted) (emphasis added). However, “a possessor of land

is not liable to persons outside the land for a nuisance resulting solely from a natural condition of

the land.” RESTATEMENT (SECOND) OF TORTS § 840 (1979). Otherwise stated, “a nuisance

cannot arise from the neglect of one to remove that which exists or arises from purely natural

causes.” Merriam v. McConnell, 175 N.E.2d 293, 296 (Ill. App. 1961). Property owners “have

no affirmative duty to remedy conditions of a purely natural origin upon their property, in this

instance the work of wildlife, even though such conditions may cause inconvenience or even

damage to the property of neighbors.” Frank v. Garrison, 584 N.Y.S.2d 217, 218 (N.Y.A.D.

1992); see also Lichtman v. Nadler, 426 N.Y.S.2d 628, 629 (N.Y.A.D. 1980) (“[A] land owner is



4
  Specifically, the proposed amended complaint alleges: “The allowance of a large obstruction
in Fairway Creek within the right of way of Union Pacific constituted a nuisance” and “[a]s a
result of defendant’s actions to allow the nuisance to be maintained, which caused flooding on
plaintiff’s property, defendant is liable to plaintiff for the damages caused by said flooding.”
Mot. To Amend Compl., Ex. 1, at 5.


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under no affirmative duty to remedy conditions of purely natural origin upon his land even

though they are dangerous or inconvenient to his neighbors.”).

        The facts in Frank are similar to those in this case: the plaintiff’s property was damaged

when a beaver dam on the defendant’s property caused flooding upstream. The Frank court

affirmed the trial court’s dismissal for failure to state a claim. Id. The fact that McDonald’s

property is located in an urban or suburban area is inapposite. See Lichtman, 426 N.Y.S.2d at

629-30 (“We find nothing in the case law or in the texts supporting the dissenters’ view that the

traditional rule has been altered or that any exception has been made in this jurisdiction as to its

application in urban or suburban areas.”).

        Merriam is also instructive here. There, the defendant grew box elder trees that were

infested annually by “ugly, black and red, three-quarter inch long bugs.” 175 N.E.2d at 294.

The plaintiff complained that the bugs migrated from the defendant’s trees to his dwelling and

among other things, impaired the value of his property. Id. The plaintiff asked the court to order

the defendant to remove the trees, but the defendant refused. To be a private nuisance, the court

held “[t]he law is that defendants themselves would have to be guilty of some carelessness,

negligence or willfulness in bringing, or helping to bring, about a harmful condition in order to

entitle plaintiff to the relief sought.” Id. at 296-97.

        Here, because the beaver dam or obstruction, however defined, arose from natural causes,

Union Pacific cannot be liable under a theory of private nuisance. Union Pacific took no

affirmative action that contributed to the existence of the obstruction; it arose from natural

causes. “Ill results, however extensive or serious, [that] flow from natural causes, cannot

become a nuisance, even though the person upon whose premises the cause exists could remove

it with little trouble and expense.” Id. at 296.




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       McDonald’s reliance on Mark v. State Dep. Fish and Wildlife, 84 P.3d 155, 161 (Or.

App. 2004), is unavailing. In Mark, a state agency designated a beach area next to the plaintiff’s

property as “nudity permitted.” 84 P.3d at 159. The court found the state failed to adequately

control the conduct of its invitees, who engaged in uncontrolled and extensive nudity including

explicit sexual conduct in plain view of the plaintiffs. Id. at 162. Mark is distinguishable in that

the harm was caused by the defendant’s invitees. Moreover, the state agency had taken the

affirmative act of designating the beach area as “nudity permitted.” McDonald has not alleged

that Union Pacific helped bring about the obstruction, or that it in any way attracted the beavers

or otherwise contributed to the dam’s construction.

       For these reasons, McDonald’s private nuisance claim fails as a matter of law and

likewise should be dismissed.

III.   Breach of Regulatory Duty Claim

       In the second claim of his original complaint, McDonald alleged a claim of breach of

regulatory duty. In his response to the motion to dismiss, he conceded this claim should be

dismissed. Response 3, ECF #16.

IV.    Plaintiff’s motion to amend should be denied.

       Rule 15(a)(2) provides that “[t]he court should freely give leave when justice so

requires.” However, leave to amend “is not to be granted automatically.” Jackson v. Bank of

Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990) (emphasis added). The court “may exercise its

discretion to deny leave to amend due to ‘undue delay, bad faith or dilatory motive on part of the

movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party, . . . [and] futility of amendment.’” Carvalho v. Equifax Info.




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Servs., LLC, 629 F.3d 876, 892-93 (9th Cir. 2010) (quoting Foman v. Davis, 371 U.S. 178, 182

(1962)) (alterations in original).

        Both the claims McDonald asserted in his original complaint and in his motion to amend

fail as a matter of law because Union Pacific is not liable for the harm resulting from beavers or

natural occurrences on its right of way. McDonald has been given one opportunity to amend his

complaint, but has failed to assert a colorable claim for relief. Additional amendment is thus

futile and leave to amend should be denied.

                                     RECOMMENDATION

        Union Pacific’s motion to dismiss (ECF #14) should be GRANTED, plaintiff’s motion to

amend the complaint (ECF #25) should be DENIED, and this case should be dismissed with

prejudice.

                                     SCHEDULING ORDER

        These Findings and Recommendations will be referred to a district judge. Objections, if

any, are due Thursday, April 26, 2018. If no objections are filed, then the Findings and

Recommendations will go under advisement on that date.

        If objections are filed, then a response is due within 14 days after being served with a

copy of the objections. When the response is due or filed, whichever date is earlier, the Findings

and Recommendations will go under advisement.

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                                            NOTICE

       These Findings and Recommendations are not an order that is immediately appealable to

the Ninth Circuit Court of Appeals. Any Notice of Appeal pursuant to Rule 4(a)(1), Federal

Rules of Appellate Procedure, should not be filed until entry of a judgment.

       DATED April 12, 2018.



                                                                    /s/ Youlee Yim You
                                                              Youlee Yim You
                                                              United States Magistrate Judge




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